                     UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION


DEBRA RAINES,                       )
                                    )
            Plaintiff,              )
                                    )       CIVIL CASE NO. 22-cv-00266
v.                                  )
                                    )      PLAINTIFF’S RESPONSE TO
MICHAEL DAVIS,                      )      DEFENDANT’S STATEMENT OF
                                    )      CITIZENSHIP
            Defendant.              )
                                    )
____________________________________)

         PLAINTIFF DEBRA RAINES’S RESPONSE TO DEFENDANT’S
                     STATEMENT OF CITIZENSHIP

   I.       Legal Standard

   As the Court identified in its Order, the Court must consider several factors in

determining a party’s citizenship. Scott v. Cricket Commc'ns, LLC, 865 F.3d 189,

195 (4th Cir. 2017); Mecklenburg County v. Time Warner

EntertainmentAdvance/Newhouse Partnership, No. 3:05cv333-MR, 2010 WL

391279, at *5 (W.D.N.C. Jan. 26, 2010). Among the factors to be considered are a

party’s current residence, where they maintain a driver’s license, where they own

property, and where their vehicles are registered.

   II.      The Current Record

   Defendant’s statement of citizenship can be summarized as setting forth the

following relevant factors for consideration for Defendant and Defendant’s wife as

citizens of Virginia: 1. They own a home in Virginia; 2. They get mail in Virginia; 3.




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They do not have a North Carolina Driver’s License; and 4. They do not have a

North Carolina vehicle registration. Doc. 12 ¶¶ 3,10,14, and 15.

    Importantly, no attachments or exhibits accompanied Defendant’s Statement of

Citizenship other than an attachment of a previous deed for the property at issue.

The record now contains an additional statement from Defendant but continues to

lack actual evidence of Defendant’s assertion of his citizenship. Defendant did not

mention where they maintained a driver’s license or vehicle registration, he simply

asserted that it was not in North Carolina. Defendant did not attach any copies of

licenses or registration, nor did he attach a deed for the property in Virginia or

provide its address.

      Plaintiff’s proposed Amended Complaint contains an allegation Plaintiff that

“upon information and belief, that Defendant and his wife are “citizens and

residents of the State of Virginia….” Doc. 8 at 6. Such proposed allegation is

predicated upon the Defendant’s statements to the Court in his Notice of Removal.

Plaintiff included the prefatory statement of “upon information and belief,” because

of the lack of sufficient evidence in the record to give rise to an unequivocal

assertion. Plaintiff’s proposed Amended Complaint is not an agreement with

Defendant’s assertion of citizenship.

                                     CONCLUSION

   The Defendant has done nothing other than provide statements for the Court in

attempting to prove citizenship. Accordingly, Defendant has failed to meet his

burden of proof for citizenship. Plaintiff respectfully requests that the Court




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consider the lack of proof of citizenship in the record when determining whether it

has proper jurisdiction.


Respectfully submitted the 17th of February, 2023.

                                             MCINTYRE ELDER LAW, PLLC


                                             /s/Brenton S. Begley
                                             Brenton S. Begley
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                           CERTIFICATE OF SERVICE


This is to certify that the undersigned has this day served the PLAINTIFF’S
RESPONSE TO DEFENDANT’S STATEMENT OF CITIZENSHIP
on all the parties to this cause by: depositing a copy hereof, postage prepaid, in the
United States Mail, addressed to each party as follows:

                                   Michael Davis
                                     Defendant
                                  General Delivery
                                  Dublin VA, 24084


      This 17th day of February, 2023.



                                        MCINTYRE ELDER LAW, PLLC



                           /s/ Brenton S. Begley
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